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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )                 8:13CR42
                      Plaintiff,             )
                                             )
         vs.                                 )                  ORDER
                                             )
VIRGILIO ROMAN-CHAIDEZ,                      )
                                             )
                      Defendant.             )
         This matter is before the court on the motion to continue by defendant Virgilio
Roman-Chaidez (Roman-Chaidez) (Filing No. 63). Roman-Chaidez seeks a continuance
of the trial of this matter which is scheduled for December 16, 2013. Upon consideration,
the motion will be granted.


         IT IS ORDERED:
         1.    Roman-Chaidez’s motion to continue trial (Filing No. 63) is granted.
         2.    Trial of this matter is re-scheduled for January 13, 2014, before Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
December 13, 2013, and January 13, 2014, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 13th day of December, 2013.
                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
